                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                  5:98 CR 192-3

UNITED STATES OF AMERICA,

   v.
                                                                 ORDER
CHARLES EDWARD COFFEY,

         Defendant.


        THIS MATTER IS before the Court on Defendant Charles Edward Coffey’s

(“Defendant”) “Motion for Writ of Habeas Corpus Order for Immediate Release, Judicial Review

of Administrative Record, and Writ of Duces Tecum Order to Produce the Documents,” (file

doc. 250), filed on February 3, 2006.

        On November 3, 1998, Defendant pled guilty to conspiracy to possess with intent to

distribute cocaine and cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 846. On August

20, 1999, this Court sentenced Defendant to a term of 235 months imprisonment. The Defendant

appealed, and the Fourth Circuit affirmed the conviction and sentence in an Opinion dated April

25, 2000.

        Next, on November 7, 2000, Defendant filed a Motion to Vacate pursuant to 28 U.S.C. §

2255, which was dismissed when this Court granted the Government’s Motion for Summary

Judgment on April 19, 2001. Defendant attempted to appeal this Order, but the Fourth Circuit

denied his request for a certificate of appealability, and dismissed his case in a July 19, 2001

Opinion. Most recently, Defendant filed a “Place Holder Motion Challenging Subject Matter

Jurisdiction Pursuant to Title 28 U.S.C. § 1331” on January 23, 2006. On January 30, 2006, this

Court entered an Order denying Defendant’s Motion, and noting that Defendant essentially



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sought to file a successive collateral review application pursuant to 28 U.S.C. § 2255, over which

this Court has no jurisdiction. Defendant made several arguments in that Motion pursuant to

United States v. Booker, 543 U.S. 220 (2005), in an attempt to attack his conviction and

sentence.

       Now, Defendant has filed yet another motion in which he attempts to collaterally attack

his sentence. In this Motion, Defendant does not cite to Booker by name, but he does make the

following statement: “[o]n January 12, 2005 the Supreme Court unconditionally admitted that the

Sixth Amendment is violated when an enhanced sentence is based upon the judges’

determination of fact other than prior conviction that is found by the jury nor admitted by

defendant.” (Def.’s Mot. at 3.) Defendant later cites to this case by using the Supreme Court’s

docket number of 04-104, 04-105. (Def.’s Mot. at 3.) This case can only be Booker, decided on

January 12, 2005, with the same docket numbers as that cited by Defendant.

       For the reasons stated in this Court’s January 30, 2006 Order, this Court reiterates the fact

that it does not have jurisdiction over a successive collateral review application pursuant to 28

U.S.C. § 2255. Further, the Supreme Court has not made the rule announced in Booker

retroactively applicable in the collateral review context. The Fourth Circuit has explicitly held

that the rule announced in Booker is not retroactively applicable to cases on collateral review.

United States v. Morris, 429 F.3d 65, 72 (4th Cir. 2005).

       Accordingly, for the above-stated reasons, Defendant’s “Motion for Writ of Habeas

Corpus Order for Immediate Release, Judicial Review of Administrative Record, and Writ of

Duces Tecum Order to Produce the Documents” is hereby DENIED.




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                               Signed: February 7, 2006




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